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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

QUINTEZ CEPHUS,

              Plaintiff,

       v.                                            Case No. 3:18-cv-00832

BOARD OF REGENTS OF THE
UNIVERSITY OF WISCONSIN SYSTEM;
UNIVERSITY OF WISCONSIN-MADISON;
LAUREN HASSELBACHER, in her
individual and official capacity, CATHY TRUEBA,
in her individual and official capacity, and
REBECCA BLANK, in her individual
and official capacity,

              Defendants.

_____________________________________________________________________________________

   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
        PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)
_____________________________________________________________________________________

       PLEASE TAKE NOTICE that Plaintiff Quintez Cephus (“Plaintiff”), pursuant to Federal

Rule of Civil Procedure 41(a)(1), hereby voluntarily dismisses all claims in this action without

prejudice as to Defendants Board of Regents of the University of Wisconsin System, University

of Wisconsin-Madison, Lauren Hasselbacher, Cathy Trueba and Rebecca Blank (collectively

“Defendants”).

       Federal Rule of Civil Procedure 41(a)(1) provides, in relevant part:
       (a) Voluntary Dismissal.
              (1) By the Plaintiff.
                      (A) Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
                           and any applicable federal statute, the plaintiff may dismiss an action
                           without a court order by filing:
                              (i) a notice of dismissal before the opposing party serves either an
                                 answer or a motion for summary judgment
                                             *            *           *
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       Defendants have neither answered Plaintiff’s Complaint, nor filed a motion for summary

judgment. Accordingly, this matter may be dismissed without prejudice and without an Order of

the Court.

Dated: March 14, 2019
                                          Respectfully submitted,

                                          Nesenoff & Miltenberg LLP

                                          By: /s/Stuart Bernstein
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                                                  and

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                                          Attorneys for Plaintiff Quintez Cephus
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                              CERTIFICATE OF SERVICE

      I certify that, on March 14, 2019, service of the foregoing PLAINTIFF’S NOTICE OF

VOLUNTARY DISMISSAL WITHOUT PREJUDICE PURSUANT TO FEDERAL RULE OF

CIVIL PROCEDURE 41(a)(1) was made upon all parties by filing it with the Clerk of the Court

using the CM/ECF system.

                                                 /s/ Stuart Bernstein
                                                 Stuart Bernstein, Esq.
